          Case 1:21-cr-00191-JEB Document 47 Filed 02/13/23 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  ) Case No.: 21-cr-191-JEB
                                                  )
                       v.                         )
                                                  )
 RYAN SCOTT ZINK,                                 )
                                                  )
        Defendant.                                )
                                                  )

               COUNSEL’S MOTION TO WITHDRAW FROM THE CASE
       Undersigned counsel entered an appearance in this matter in order to file a pro hac vice

motion for Ryan Zink’s lead counsel, Cynthia Hujar Orr and Gerald H. Goldstein, who are not

admitted in this Court. On January 3, 2023, Orr and Goldstein appear to have made an oral

motion to withdraw their appearances. At the time, Orr and Goldstein did not inform the

undersigned that they were withdrawing from the case. Undersigned counsel is currently

involved in a trial in another matter. On February 3, Orr emailed counsel and advised that she

and her partner had withdrawn from the case. Zink has not retained the undersigned to represent

him in this case, nor has he made any retainer payment to him. Counsel entered an appearance in

this case as a favor to Orr and Goldstein. Counsel apologizes for any inconvenience this may

have caused the Court and moves to withdraw his appearance.

Dated: February 13, 2023                            Respectfully submitted,

                                                    /s/ Nicholas D. Smith
                                                    Nicholas D. Smith, D.C. Bar No. 1029802
                                                    1123 Broadway, Suite 909
                                                    New York, NY 10010
                                                    (917) 902-3869
                                                    nds@davidbsmithpllc.com




                                                                                                  1
         Case 1:21-cr-00191-JEB Document 47 Filed 02/13/23 Page 2 of 2




                                     Certificate of Service

       I hereby certify that on the 13th day of February, 2023, I filed the foregoing document with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

              Janani Iyengar
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].



                                                     /s/ Nicholas D. Smith
                                                     Nicholas D. Smith, D.C. Bar No. 1029802
                                                     1123 Broadway, Suite 909
                                                     New York, NY 10010
                                                     (917) 902-3869
                                                     nds@davidbsmithpllc.com




                                                                                                 2
